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                      UNITED STATES DISTRICT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )       Case No. 22-cr-00015-APM
                                  )
STEWART RHODES, et. al.,          )
                                  )
                                  )
                 Defendants       )
                                  )



     DEFENDANT ROBERTO MINUTA’S MOTION TO MODIFY TERMS
           AND CONDITIONS OF SUPERVISED RELEASE


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        NOW COMES Roberto Minuta, by and through his counsel of record,

William L. Shipley, Esp., and respectfully files this Motion to Modify the Terms

and Conditions of Supervised Release.

        On June 1, 2023, this Court sentenced Mr. Minuta to a term of 54

months of imprisonment followed by a term of 36 months of supervised release.

        On January 20, 2025, President Trump issued an Executive Order

commuting Mr. Minuta’s sentence to “time served.”1

        Upon release from FCI Bastrop he was directed to contact his assigned

Probation Officer within 72 hours. Mr. Minuta complied with that direction,

with courtesy supervision being handled through the United States District

Court for the Eastern District of Texas.

        Among the supervised release conditions imposed by this Court was the

following Standard Condition:

                3. You must not knowingly leave the federal judicial district where

                you are authorized to reside without first getting permission from

                the court or the probation officer.

See ECF No. 631 at Pg. 5 ln. 3.

        Mr. Minuta resides in a North Texas community on the border between

the Eastern and Northern Districts of Texas, located only 30 miles from the

Dallas-Ft. Worth metro area in the Northern District of Texas.




1
 https://www.whitehouse.gov/presidential-actions/2025/01/granting-pardons-and-commutation-of-sentences-for-
certain-offenses-relating-to-the-events-at-or-near-the-united-states-capitol-on-january-6-2021/


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      Without explanation or justification, his Probation Officer has stated that

he will not be allowed to leave the Eastern District of Texas for a period of at

least 60 days.

      Mr. Minuta requests that this Court modify his terms and conditions of

Supervised Release to allow him to travel without the necessity of seeking prior

permission in both the Eastern District of Texas and the Northern District of

Texas given his close proximity to the Dallas-Ft. Worth area. Both of his

children regularly have youth sports and other extra-curricular activities in the

Dallas-Ft. Worth area.

      In addition, Mr. Minuta respectfully requests specific permission from

this Court to travel to the Western District of Texas – San Antonio – from

January 31 to February 2, 2025, so that he may attend a cheerleading

competition with his daughter. Prior to his sudden release from custody on

January 20, it was not anticipated that he would be able to attend. Given

events of the past 48 hours, it would be extraordinarily difficult to make her

understand his inability to attend along with the rest of the family.

      The Probation Officer offered no explanation for denying the request to

travel for 3 days.

      If approved by this Court, Mr. Minuta will provide the Probation Officer

with a complete itinerary of the planned travel – time of departure and expected

return, lodging location, the location of the competition, and contact

information to reach him at any time while he is away from his residence. If

necessary he will contact his Probation Officer daily while outside the Eastern

District of Texas.



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      Based on the foregoing, Mr. Minuta requests the modifications to the

Terms and Conditions of Supervised Release set forth herein.



Dated: January 22, 2025             Respectfully submitted,




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